                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

Lisa B. Cooper,                                )         Case No. 17-00041-CV-W-BP
                                               )
                               Plaintiff,      )         Date: 2/8/2019
                                               )
       vs.                                     )         10th day of trial
                                               )
Scripps Media, Inc.,                           )
                               Defendant.      )

                              MINUTES OF TRIAL OR HEARING

HONORABLE         BETH PHILLIPS         presiding at Kansas City, Missouri.
====================================================================
Nature of Proceeding: 10th DAY OF JURY TRIAL
Time Commenced: __8:14 a.m.____                Time Terminated: ___________
Plaintiff by:                                         Defendant by:
Dennis Egan and Martin Meyers                      Michael McIntrye, Mark Johnson,
                                                    Rachel Smith, and Kate Hart


  Remarks:                                                                   Witness Testifying
  All parties present and ready for trial; instruction               Steve Watt 9:25-9:47 before
                                                                     jury 10:04 a.m.-10:30 a.m.
  conference held with parties 8:14-defendant orally moves           Lisa Benson Cooper recalled
                                                                     10:31 -10:46 a.m.
  for a mistrial -court denies same 8:43; Break 8:50-9:10
  conference with counsel 9:10-9:19; Break 9:19-9:23;
  defendant continues case in chief and calls Steve Watt
  for proffer without presence of jury 9:25 a.m.; court
  Proceeds before jury 10:03 and defendant calls Steve
  Watt 10:04 a.m.; Defendant rests 10:31 a.m.;
  Plaintiff calls Lisa Benson Cooper for rebuttal 10:31 a.m.
  Break for jury 10:47; conference with counsel 10:47-
  10:51; Break 10:51-11:14; conference with counsel




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  11:14-11:25; Break 11:25; court proceeds before jury
  and jury instructions read 11:31 a.m.; plaintiff’s closing
  argument 11:56 a.m.; break 12:47-1:04 p.m.; conference
  with counsel 1:04-court proceeds before jury 1:08;
  defendant’s closing 1:08 p.m.; plaintiff rebuttal closing
  2:08 p.m.; jury goes to deliberate 2:21 p.m.; jury note
  2:50; jury note 4:17; jury note 4:39 p.m.; jury note 6:39
  jury note 6:41 p.m; jury note 7:38 p.m. Jury reaches
  Verdict 9:37 p.m.; Verdict A for Defendant; Verdict B
  For defendant; Verdict C for plaintiff; Verdict D for
  Plaintiff; Jury released 9:41 p.m. Court adjourned 9:41 p.m.




Pltf. Rested___2/5/19 at 12:05 p.m.___                Deft.Rested__2/8/2019 at 10:31 a.m.___

Court Reporter: Katie Wirt                                    By: /s/ Kelly McIlvain
                                                          Kelly McIlvain, Courtroom Deputy




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